Case 2:05-cv-02151-BBD-dkv Document 25 Filed 07/12/05 Page 1 of 2 Page|D 11

IN THE UNITED sTATEs DIsTRIcT coURT m B"' ~`M(Q°'c‘
FoR THE wEsTERN DISTRICT 0F TENNESSEE ,
CASE No. 05-2151-1)v 05 JUL 12 PH 5» 35
TERRENCE MCFADGON, on behalf of W 33 "W(M%m
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himself and all others similarly situated,
Case No. 05-2151-DV

Plaintiff,
v.

THE FRESH MARKET, INC.,

Defendant.

 

 

ORDER GRANTING DEFENDANT’S MOTION FOR LEAVE
TO FILE A REPLY MEMORANDUM

Defendant The Fresh Market, lnc. (“Fresh Market”) has filed a Motion For Leave
To File A Reply Brief in connection With Defendant’s Motion for Transfer of Venue. The Court,
having reviewed the Motion and the Reply Brief that accompanies it, and it appearing to the
Court that there is good cause to grant the Motion, the Motion to file a Reply Brief is
GRANTED.

The Clerk is instructed to file Defendant Fresh Market Inc.’s Reply

Memorandum, Which is attached to Defendant’s Motion in the record of this cause.

  

Th|s document entered on the docket eha f pli cen-
With Flul le 58 and/or 79(3 )FRCP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CV-02151 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

